         CASE 0:20-cr-00181-PJS-BRT Doc. 44 Filed 10/05/20 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Case No. 20-CR-181 (3) (PJS/BRT)


United States of America,

                     Plaintiff,
v.                                               DEFENDANT WILLIAMS’S MOTION
                                                 FOR SEVERANCE
Bryce Michael Williams,

                     Defendant.




       Defendant Bryce Williams, by and through his undersigned counsel, respectfully

moves the Court for an order severing his case for trial from that of his co-defendants,

and requiring the government to provide to the Court for in camera inspection – for the

purposes of determining severance – of any statements by co-defendants the government

intends to use as evidence, if any exist.

                                            Argument

       Joinder of defendants is allowed by Rule 8(b) of the Federal Rules of Criminal

Procedure if they are alleged to have participated in an act or transaction, or series of acts

or transactions constituting an offense or offenses. However, a district court may grant a

severance, “upon defendant's showing of real prejudice.” United States v. Frank, 354

F.3d 910, 920 (8th Cir. 2004) (quoting United States. v. Washington, 318 F.3d 845, 858

(8th Cir. 2003), cert. denied, 124 S. Ct. 251 (2003)). Severance is governed by Rule 14

of the Federal Rules of Criminal Procedure which provides, in part:
         CASE 0:20-cr-00181-PJS-BRT Doc. 44 Filed 10/05/20 Page 2 of 3




       (a) Relief. If the joinder of offenses or defendants in an indictment, an
       information, or a consolidation for trial appears to prejudice a defendant or
       the government, the court may order separate trials of counts, sever the
       defendants' trials, or provide any other relief that justice requires.

In this case, justice requires severing Mr. Williams’s trial to avoid prejudicial spillover.

       The Court should grant a motion for severance under Rule 14 where there is a

serious risk the joint trial would prevent the jury from making a reliable judgment about

guilt or innocence. United States v. Baker, 98 F.3d 330, 335 (8th Cir. 1996) (citing

Zafiro v. United States, 506 U.S. 534, 541 (1993)). Prejudice within the meaning of Rule

14 occurs if a jury cannot reasonably be expected to “compartmentalize the evidence as it

relates to separate defendants.” United States v. Jackson, 549 F.2d 517, 525 (8th Cir.

1977); see also United States. v. Boone, 437 F.3d 829, 837 (8th Cir. 2006) (prejudice may

be demonstrated by showing either that the defendants' defenses are irreconcilable or that

the jury will be unable to compartmentalize the evidence as it relates to the separate

defendants due to a “prejudicial spillover effect.”). Courts have also recognized that

prejudice may result from the jury's inability to compartmentalize evidence given the

length and complexity of the trial and the disparity in the quantum of evidence against the

defendants. United States v. Lewis, 557 F.3d 601, 610 (8th Cir. 2009). Prejudice can

also occur where the quantity of evidence presented against one codefendant is much

greater than that against another. This creates information overload and confusion in the

minds of the jury, and severely prejudices the defendant. See, e.g., United States v.

Mathison, 157 F.3d 541 (8th Cir. 1998). Severance is necessary if a jury is unable to




                                              2
         CASE 0:20-cr-00181-PJS-BRT Doc. 44 Filed 10/05/20 Page 3 of 3




compartmentalize the evidence against separate defendants. United States. v. Bauer, 551

F.3d 786 (8th Cir. 2008).

       In this case, many of these concerns are present. It will be likely that the defenses

are irreconcilable. It is likely the jury will be unable to compartmentalize the evidence

against the codefendants. There is a grave risk that the jury will blur the lines between

defendants and inappropriately apply evidence to wrongfully convict Mr. Williams. Not

severing Mr. Williams’s trial will unfairly prejudice him because of the spillover effect of

evidence admitted against his codefendants. A limiting instruction will not alleviate this

prejudice.

                                        Conclusion


       For the foregoing reasons, Mr. Williams respectfully submits that his matter be

severed from his codefendants.



                                          Respectfully submitted,

Dated: October 5, 2020                    /s/ Ian S. Birrell
                                          Andrew S. Birrell (Attorney No. 133760)
                                          Ian S. Birrell (Attorney No. 0396379)
                                          Birrell Law Firm PLLC
                                          333 South 7th Street, Suite 2350
                                          Minneapolis, MN 55402
                                          Phone: (612) 238-1939
                                          andy@birrell.law | ian@birrell.law
                                          Attorneys for Defendant




                                             3
